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                   UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                                      Effective 12/01/2016

                                 No. 23-4509, United States v. Russell Lucius Laffitte


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     /s/Kathleen Michelle Stoughton, Assistant United States Attorney
     Party Name: United States of America, Appellee
     Dated: August 25, 2023
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